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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO


  In re:                                                )
                                                        )
  BIGHORN RESTAURANTS, LLC,                             )   Bankr. Case No. 23-11919-MER
  SUMMIT RESTAURANT HOLDINGS,                           )   Bankr. Case No. 23-11921-MER
  LLC; EMPIRE RESTAURANTS, LLC;                         )   Bankr. Case No. 23-11922-MER
  HEARTLAND RESTAURANTS, LLC;                           )   Bankr. Case No. 23-11924-MER
  ATLANTIC STAR RESTAURANTS, LLC;                       )   Bankr. Case No. 23-11925-MER
  and SUMMIT RESTAURANT                                 )   Bankr. Case No. 23-11926-MER
  DEVELOPMENT, LLC,                                     )
                                                        )   (Jointly Administered under
            Debtors-in-Possession.                      )   Bankr. Case No. 23-11919-MER)
                                                        )
                                                        )   Chapter 11
                                                        )
                                                        )   [Pleading Applies to All Cases]
                                                        )

        DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE
         BIDDING PROCEDURES; (II) APPROVING BID PROTECTIONS; (III)
        APPROVING PROCEDURES FOR ASSUMPTION AND ASSIGNMENT OF
         CERTAIN EXECUTORY CONTRACTS AND RELATED NOTICES; (IV)
     SCHEDULING THE BID DEADLINE, THE AUCTION AND SALE HEARING; (V)
       APPROVING THE FORM AND MANNER OF NOTICE THEREOF; AND (VI)
                       GRANTING RELATED RELIEF


           The above captioned Debtors and Debtors in Possession (collectively, the “Debtors”) in the

 above-captioned chapter 11 cases (the “Chapter 11 Cases”) hereby move (the “Motion”) this Court

 for an order (I) establishing bidding procedures (the “Bidding Procedures”), (II) approving bid

 protections for a stalking horse bidder (“Bid Protections”), (III) establishing procedures for

 assumption and assignment of certain executory contracts and related notices, (IV) scheduling the

 bid deadline, auction, if any, and sale hearing, (V) approving the form and manner of notice




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 thereof, and (V) granting related relief. In further support of this Motion, the Debtors respectfully

 state as follows.

                                                    Background

            1.       On May 4, 2023, (the “Petition Date”), the Debtors separately filed voluntary

 petitions for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

 for the District of Colorado (the “Court”).

            2.       On May 5, 2023, the Court entered the Order Granting Motion for Order Directing

 Joint Administration of Related Chapter 11 Cases for Procedural Purposes Only and Entry of

 Related Relief [Docket No. 35] (the “Joint Administration Order”) directing joint administration

 of the Debtors’ related chapter 11 cases for procedural purposes only. The Debtors’ chapter 11

 cases are being jointly administered under In re Bighorn Restaurants, LLC, lead bankruptcy case

 number 23-11919-MER.

            3.       The Debtors are authorized to operate their business and manage their properties as

 debtors-in-possession under §§ 1107(a) and 1108. No creditors’ committee is appointed in the

 Chapter 11 Cases by the Office of the United States Trustee, nor has any trustee or examiner been

 requested or appointed.

            4.       Together, the Debtors constitute one of the largest current franchisees of Hardee’s

 restaurants. The Debtors formerly operated over 145 Hardee’s restaurants, recently closed 39

 restaurants and currently operate 108 Hardee’s restaurants (the “Restaurants”). The Restaurants

 span the states of Alabama, Florida, Georgia, South Carolina, Kansas, Missouri, Wyoming, and

 Montana. The Restaurants are operated by various of the following Debtors Empire, Heartland,

 Bighorn, and Atlantic Star.1



 1
     As of the Petition Date, Summit Development does not have any Restaurant operations.


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         5.       A description of the Debtor’s business, the reasons for filing this chapter 11 case

 and the relief sought from this Court to allow for a smooth transition into operations under chapter

 11 is set more fully described in the Declaration of Daniel F. Dooley in Support of First Day Relief

 [Docket No. 9] (the “First Day Declaration”), which the Debtor hereby adopts and incorporates as

 if fully set forth herein.

                                             Introduction

         6.       The Debtors seek to maximize the value of their estates for the benefit of their

 creditors by conducting an auction for the sale of substantially all of their assets. As will be further

 described in their Motion For Entry of Order: (I) Approving Asset Purchase Agreement and

 Authorizing the Sale of Substantially All of the Debtors’ Assets; (II) Authorizing the Sale of Assets

 Free and Clear of All Liens, Claims, Rights, Encumbrances and Other Interests Pursuant to 11

 U.S.C. §§ 363(b), 363(f) and 363(m); and (III) Granting Related Relief which the Debtors will

 soon file herein (the “Sale Motion”), the Debtors have entered into an Asset Purchase Agreement

 (the “APA”) with ARC Burger, LLC (“Stalking Horse Bidder”) to purchase substantially all of

 the Debtors’ assets subject to this Court’s approval. As further described in the Sale Motion, the

 Stalking Horse Bidder has been provided with certain customary protections (subject to Court

 approval) which include, among other things, a break-up fee in the amount of $351,000 plus three

 percent (3%) of the amount by which the aggregate consideration received by the Debtors for the

 assets sold by them pursuant to the Bidding Procedures exceeds $11,700,000 (the “Break-up Fee”)

 and an expense reimbursement of up to $150,000 (the “Expense Reimbursement”, and together

 with the Break-Up Fee the “Bid Protections”) for its reasonable, out of pocket costs and attorneys’

 fees incurred by Stalking Horse Bidder in connection with submitting the Stalking Horse Bid and

 its due diligence in in connection therewith. As requested herein and in the Sale Motion, upon the

 entry of a Court Order authorizing the sale of substantially all the Debtors’ assets to a bidder other


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 than the Stalking Horse Bidder, the Debtors seek authorization to pay to the Stalking Horse Bidder

 the Break-Up Fee and Expense Reimbursement (i.e., the Bid Protections) from the proceeds of

 such sale. The Debtors are engaged in negotiations with multiple parties, and file this Motion to

 advance the bidding process and schedule an auction to secure the highest or best bid for the benefit

 of their estates.

         7.          In February, 2023, the Debtors retained Brookwood Associates to market the

 Debtors’ assets (the “Prepetition Marketing Process”). With the Prepetition Marketing Process in

 mind, and in an effort to maximize value for all stakeholders, the Debtors have developed

 postpetition marketing, bidding and auction procedures (the “Postpetition Sale Process”) for the

 orderly marketing and sale of the Debtors’ business. The Bidding Procedures are designed to

 promote a competitive and robust bidding process and are intended to generate the greatest level

 of interest in the Debtors’ businesses.

         8.          The Bidding Procedures provide the Debtors with flexibility to solicit proposals,

 negotiate transactions, select qualified bidders, hold an auction, and proceed to consummate a

 potential sale transaction whether through a Bankruptcy Code 363 sale (a “Transaction”), all while

 protecting the due process rights of all interested parties and ensuring that there is a full and fair

 opportunity to review and consider proposed transactions.

                                             Relief Requested

         9.          By this Motion, the Debtors request entry of the Bidding Procedures Order,

 substantially in the form attached hereto as Exhibit A:

                i.           authorizing and approving the Bidding Procedures, substantially in the
                             form attached to the Bidding Procedures Order as Exhibit 1, in connection
                             with the Transaction;




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                ii.          scheduling an auction (if necessary) in connection with the sale of the
                             Debtors’ Assets (the “Auction”) and a final hearing to consider approval of
                             the proposed Sale (the “Sale Hearing”);

                iii.         authorizing and approving the form of (A) notice of the Sale, Bidding
                             Procedures, Auction, and the Sale Hearing, substantially in the form
                             attached to the Bidding Procedures Order as Exhibit 2 (the “Sale Notice”);
                             (B) notice to each relevant Counterparty (as defined below) to an Assumed
                             Contract (as defined below) regarding the Debtors’ potential assumption
                             and assignment of such contract and the amount necessary to cure any
                             defaults thereunder (the “Cure Claims”), substantially in the form attached
                             to the Bidding Procedures Order as Exhibit 3 (the “Potential Assumption
                             and Assignment Notice”); and (C) notice to be published in national edition
                             of USA today regarding the sale of the Debtors’ Assets free and clear of all
                             liens, claims and interests (“Free and Clear Notice”) substantially in the
                             form attached to the Bidding Procedures Order as Exhibit 4.

                iv.          authorizing and approving procedures for the assumption and assignment
                             of the certain executory contracts and unexpired leases and the
                             determination of Cure Claims with respect thereto (collectively, the
                             “Assumption and Assignment Procedures”); and

                v.           granting related relief including without limitation the Bid Protections for
                             the Stalking Horse Bidder.

                                          Jurisdiction and Venue

         10.         The United States Bankruptcy Court for the District of Colorado (the “Court”) has

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and D.C. Colo. L. Civ. R. 84.1.

 The Debtors confirm their consent, pursuant to Rule 7008 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court in connection with

 this Motion to the extent that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments in connection herewith consistent with Article III of the

 United States Constitution.

         11.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         12.         The bases for the relief requested herein are sections 105, 363, and 365 of title 11

 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Bankruptcy Rules



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 6003 and 6004, and Rule 9013-1 of the Local Rules for the United States Bankruptcy Court for

 the District of Colorado (the “Local Rules”).


                                       The Bidding Procedures

           13.    Prior to commencing these Chapter 11 Cases, the Debtors engaged Brookwood

 Associates and undertook an extensive marketing process that has generated substantial interest in

 the business. As mentioned above ARC Burger, LLC has been selected by the Debtors as the

 Stalking Horse Bidder herein as further described in the Sale Motion. The Debtors have retained

 Brookwood Associates to, among other things, assist the Debtors in a marketing process for

 potential additional bidders for the Debtors’ assets. Consistent with that process, the Debtors now

 file this Motion seeking approval of Bidding Procedures to continue their marketing efforts and

 complete a sale of their assets or equity in a manner that maximizes the value of the Debtors’

 assets.

           14.    Preserving value for the benefit of the Debtors’ estate depends in large part on the

 Debtors proceeding swiftly to completion of a sale. The Bidding Procedures are designed to—and

 the Debtors believe the Bidding Procedures will actually operate to—maximize the likelihood of

 an acceptable bid for the benefit of enterprise-wide stakeholders.

           15.    Brookwood Associates, in consultation with the Debtors have developed a list of

 more than ninety parties whom they believe may be interested in, and whom are believed would

 have the financial resources to consummate a purchase of substantially all of the Debtors’ assets.

 The list of parties includes strategic investors and financial investors (collectively, the “Contact

 Parties”). Since being engaged in early 2023, Brookwood Associates contacted over 40 Contact

 Parties and provided them with a generic teaser. Sixteen of the initial Contact Parties executed

 confidentiality agreements and the Debtors received a total of four letters of interest. The Contact



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 Parties may include parties whom the Debtors or their advisors previously contacted regarding a

 transaction, regardless of whether such parties expressed any interest at such time in pursuing a

 transaction. The Debtors will continue to discuss and may supplement the list of Contact Parties

 throughout the marketing process, as appropriate. Since the filing of these cases, Brookwood

 Associates has commenced contact with the remaining fifty or more Contact Parties that were not

 previously contacted.

         16.      With the assistance of Mr. Dooley and the Debtors’ management team, Brookwood

 Associates has established a data room for prospective purchasers. Brookwood Associates will

 continue to aggressively market the Debtors’ assets during the Chapter 11 Cases to the Contact

 Parties and any others who may have interest in the Debtors’ assets.


                            Stalking Horse Bidder and Bid Protections

         17.      A summary of the proposed sale is set out below:

     Purchase Price                      The Purchase Price is $11,700,000.00 plus the Lease
                                         Adjustment Amount and additional amounts if additional
                                         locations are added in accordance with Schedule 2.1(d)
                                         (the “Purchase Price”).

     Acquired Assets                     Substantially all of the Debtor’s Assets which includes
                                         not less than 53 and up to 73 restaurants, with the
                                         potential to add up to 15 additional restaurants. The
                                         Acquired Assets includes Assumed Contracts and
                                         Assumed Leases, Fixed Assets, Inventory, Permits,
                                         Change Fund, Prepaid Expenses, Goodwill and other
                                         Intangibles, Point of Sale Equipment, Warranties, Tax
                                         Records, Advertising Materials, Avoidance Actions
                                         related to Assumed Contracts and Assumed Leases,
                                         Acquired Business Information

     Assumed Liabilities                 All Liabilities related to Property Taxes imposed upon or
                                         assessed directly against the Acquired Assets attributable
                                         solely to any tax period (or portion thereof) beginning
                                         after the Closing Date;



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                               All (i) store or customer credits, sales promotions,
                               rebates, coupons, and loyalty programs, and (ii) returns of
                               goods or merchandise, customer prepayments and
                               overpayments, customer refunds, credits, reimbursements
                               and related adjustments in the ordinary course of business
                               with respect to goods or merchandise;
                               All Liabilities, to the extent arising from or after the
                               Closing, except, in the case of Taxes, to the extent
                               attributable solely to any tax period (or portion thereof)
                               beginning after the Closing Date, with respect to or
                               relating to the ownership or operation of Buyer of any of
                               the Acquired Assets or Relating to the Business;
                               All Liabilities related to Transfer Taxes related to the
                               Transaction; and employee benefits, compensation or
                               other arrangements arising from Buyer’s employment of
                               Transferred Employees on or after the Closing.

    Excluded Assets            Excluded Assets

    Closing                    The Closing shall occur upon the satisfaction of the
                               conditions set forth in Article 7 of the Form APA.
                               Closing is subject to, among other conditions, entry of the
                               Sale Order by July 28, 2023and shall occur no later than
                               August 14, 2023.

    Deposit                    $585,000.00.


    Representations and         The Acquired Assets will be sold on an “As Is” and
    Warranties                 “Where Is” basis with customary representations and
                               warranties as to title and ownership and as to the conduct
                               of the business prior to closing.

    Termination                The APA may be terminated in various circumstances,
                               including the failure to obtain approval of the Bid
                               Protections by June 2, 2023, the failure to have a Sale
                               Order by July 28, 2023 or the failure to close on the
                               transaction by August 14, 2023.

    Agreements with            N/A
    Management




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                                        The Bidding Procedures Order

 A.        The Bidding Procedures.

           18.      To optimally and expeditiously solicit, receive, and evaluate bids in a fair and

 efficient manner, the Debtors have developed and proposed the Bidding Procedures, attached as

 Exhibit 1 to the Bidding Procedures Order, to govern the Postpetition Sale Process. The Debtors

 designed the Bidding Procedures to encourage all entities to put their best bids forward and to

 maximize the value of the Debtors’ estate. The following describes the salient points of the

 Bidding Procedures:2

                  i.         Participation Requirements.

                             a)        To receive due diligence information, including full access to the
                                       Debtors’ electronic data room and additional non-public
                                       information regarding the Debtors, a party interested in
                                       consummating a Transaction (a “Potential Bidder”) should deliver
                                       (or have delivered) to each of (i) Brookwood Associates, investment
                                       banker to the Debtors, 3575 Piedmont Road, 15 Piedmont Center,
                                       Suite 820, Atlanta, GA 30305, Attn: Amy Forrestal
                                       (AF@brookwoodassoictes.com); and (ii) Markus Williams Young
                                       Hunsicker LLP, 1775 Sherman Street, Suite 1950, Denver Colorado
                                       80203 Attn: James Markus (jmarkus@markuswilliams.com),
                                       counsel to the Debtors; (collectively, the “Debtors’ Advisors”), the
                                       following documents (collectively, the “Preliminary Bid
                                       Documents”):

                                  i.          an executed Confidentiality Agreement, to the extent not
                                              already executed; and

                                  ii.         such other documentation requested by and acceptable to the
                                              Debtors of the Potential Bidder’s financial capacity to close
                                              a proposed Transaction.

                             b)        Promptly after a Potential Bidder delivers Preliminary Bid
                                       Documents, the Debtors will determine (in consultation with the

 2
   This summary is qualified in its entirety by the Bidding Procedures attached as Exhibit 1 to the Bidding Procedures
 Order. All capitalized terms that are used in this summary but not otherwise defined herein shall have the meanings
 in the Bidding Procedures. To the extent there are any conflicts between this summary and the Bidding Procedures,
 the terms of the Bidding Procedures shall govern.


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                                  Consultation Parties) and notify the Potential Bidder whether such
                                  Potential Bidder has submitted acceptable Preliminary Bid
                                  Documents so that the Potential Bidder may proceed to conduct due
                                  diligence and ultimately submit a Bid (as defined below) and
                                  participate in the Auction, as applicable, and will provide copies of
                                  any such notices to the Notice Parties. Except as otherwise
                                  determined in the Debtors’ business judgment, only those Potential
                                  Bidders that have submitted acceptable Preliminary Bid Documents
                                  (each, an “Acceptable Bidder”) may submit Bids. The Debtors shall
                                  file a notice in the Bankruptcy Court designating any stalking horse
                                  bidder or any replacement stalking horse bidder (the “Stalking
                                  Horse Bidder”) and such Stalking Horse Bidder will be deemed to
                                  have already been determined to be an Acceptable Bidder.

                           c)     If the Stalking Horse Bidder is approved by the Court at the Bidding
                                  Procedures hearing, then the asset purchase agreement proposed by
                                  such Stalking Horse Bidder will serve as the form asset purchase
                                  agreement and if no Stalking Horse Bidder is approved by the Court,
                                  the Debtors will provide a form asset purchase agreement
                                  (collectively, the “Form Documents”). Brookwood Associates will
                                  make the Form Documents available to any Acceptable Bidders.
                                  Each Acceptable Bidder shall comply with all reasonable requests
                                  for additional information and due diligence access by the Debtors
                                  or their advisors regarding such Acceptable Bidder and its
                                  contemplated transaction.

               ii.          Qualifying Bid Deadline. An Acceptable Bidder that desires to make a
                            proposal, solicitation, or offer (each, a “Bid”) shall transmit such proposal,
                            solicitation, or offer via email (in .pdf or similar format) so as to be
                            actually received on or before July 10, 2023, at 5:00 p.m. (prevailing
                            Mountain Time) (the “Bid Deadline”) to the Debtors’ Advisors. Debtors’
                            Advisors shall provide copies of each Bid to the Consultation Parties
                            within one calendar day after receipt.

               iii.         Bid Requirements. Each Bid by an Acceptable Bidder must be submitted
                            in writing and satisfy the following requirements (collectively, the “Bid
                            Requirements”):

                           a)     Purpose. Each Acceptable Bidder must state if the Bid is an offer
                                  by the Acceptable Bidder to purchase assets or equity, including the
                                  percentage of the new interests to be purchased, if any, and which
                                  executory contracts and unexpired leases the Acceptable Bidder
                                  seeks to have assumed and assigned as part of the Transaction




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                           b)   Purchase Price. Each Bid must clearly set forth the terms of any
                                proposed Transaction, including and identifying separately any cash
                                and non-cash components of the proposed Transaction
                                consideration, including, for example, certain liabilities to be
                                assumed by the Acceptable Bidder (the “Purchase Price”);

                           c)   Deposit. Each Bid must be accompanied by a cash deposit in the
                                amount equal to 5% of the aggregate value of the cash and non- cash
                                consideration of the Bid to be held in one or more escrow accounts
                                on terms acceptable to the Debtors (the “Deposit”).

                           d)   Marked Agreement. Each Bid must include a form of APA
                                acceptable to the Debtors; each Bid must include a marked version
                                of the applicable Form Documents, in each case, together with the
                                exhibits and schedules related thereto and any related Transaction
                                documents or other material documents integral to such Bid,
                                pursuant to which the Acceptable Bidder proposes to effectuate the
                                Transaction (collectively, the “Transaction Documents”). Any
                                modifications to the Transaction contemplated by the Form
                                Documents must be in form and substance acceptable to the
                                Debtors. Notwithstanding anything to the contrary in the Bid
                                Procedures or the Form APA, an Acceptable Bidder may bid on any
                                of the Debtors’ assets and may assume or elect not to assume the
                                franchise agreement(s) between Debtors and CKE Restaurant
                                Holdings, Inc. (“CKE”).

                           e)   Committed Financing. To the extent that a Bid is not accompanied
                                by evidence of the Acceptable Bidder’s capacity to consummate the
                                Transaction set forth in its Bid with cash on hand, each Bid must
                                include committed financing documented to the Debtors’
                                satisfaction (in consultation with the Consultation Parties), that
                                demonstrates that the Acceptable Bidder has received sufficient debt
                                and/or equity funding commitments to satisfy the Acceptable
                                Bidder’s Purchase Price and other obligations under its Bid. Such
                                funding commitments or other financing must be unconditional and
                                must not be subject to any internal approvals, syndication
                                requirements, diligence, or credit committee approvals, or shall have
                                covenants and conditions acceptable to the Debtors (in consultation
                                with the Consultation Parties).

                           f)   Contingencies; No Financing or Diligence Outs. A Bid shall not be
                                conditioned on the obtaining or the sufficiency of financing or any
                                internal approval, or on the outcome or review of due diligence.




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                           g)   No Bidding Protections. Each Bid (other than the Stalking Horse
                                Bid) must disclaim any right to receive a fee analogous to a breakup
                                fee, expense reimbursement, termination fee, or any other similar
                                form of compensation. For the avoidance of doubt, no Qualified
                                Bidder (other than the Stalking Horse Bidder) will be permitted to
                                request, nor be granted by the Debtors, at any time, whether as part
                                of the Auction or otherwise, a break-up fee, expense reimbursement,
                                termination fee, or any other similar form of compensation. By
                                submitting its Bid, each Bidder (other than the Stalking Horse
                                Bidder) is agreeing to refrain from and waive any assertion or
                                request for reimbursement on any basis, including pursuant to
                                section 503(b) of the Bankruptcy Code.

                           h)   Identity. Each Bid must fully disclose the identity of each entity that
                                will be bidding or otherwise participating in connection with such
                                Bid (including each equity holder or other financial backer of the
                                Acceptable Bidder if such Acceptable Bidder is an entity formed for
                                the purpose of consummating the proposed transaction
                                contemplated by such Bid), and the complete terms of any such
                                participation. Each Bid should also include contact information for
                                the specific person(s) and counsel whom the Debtors’ Advisors
                                should contact regarding such Bid.

                           i)   Authorization. Each Bid must contain evidence acceptable to the
                                Debtors (in consultation with the Consultation Parties), that the
                                Acceptable Bidder has obtained authorization or approval from its
                                board of directors (or a comparable governing body) with respect to
                                the submission of its Bid and the consummation of the Transaction
                                contemplated in such Bid.

                           j)   As-Is, Where-Is. Each Bid must include a written acknowledgement
                                and representation that the Acceptable Bidder: (i) has had an
                                opportunity to conduct any and all due diligence regarding the
                                Transaction prior to making its offer; (ii) has relied solely upon its
                                own independent review, investigation, and/or inspection of any
                                documents in making its Bid; (iii) did not rely upon any written or
                                oral statements, representations, promises, warranties, or guaranties
                                whatsoever, whether express, implied by operation of law, or
                                otherwise, regarding the Transaction or the completeness of any
                                information provided in connection therewith or the Auction, except
                                as expressly stated in the Bidder’s Transaction Documents; and (iv)
                                the Acceptable Bidder did not engage in any collusive conduct and
                                acted in good faith in submitting its Bid.




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                           k)   Adequate Assurance. Each Bid must contain evidence acceptable to
                                the Debtors in their reasonable discretion (in consultation with the
                                Consultation Parties) that the Acceptable Bidder has the ability to
                                comply with section 365 of the Bankruptcy Code (to the extent
                                applicable), including providing adequate assurance of such
                                Acceptable Bidder’s ability to perform future obligations arising
                                under the contracts and leases proposed in its Bid to be assumed by
                                the Debtors and assigned to the Acceptable Bidder, in a form that
                                will permit the immediate dissemination of such evidence to the
                                Counterparties to such contracts and leases (the “Adequate
                                Assurance Information”). Adequate Assurance Information may
                                include: (i) the specific name of the proposed assignee, and the
                                proposed name under which the proposed assignee intends to
                                operate the store if not the current tradename of the Debtors, (ii) a
                                corporate organizational chart or similar disclosure identifying
                                ownership and control of the proposed assignee of the applicable
                                contracts and leases; (iii) audited or unaudited financial statements,
                                tax returns, bank account statements or annual reports; (iv) financial
                                projections, calculations, and/or financial pro-formas prepared, if
                                any, in contemplation of purchasing the applicable contracts and
                                leases; (v) the proposed assignee’s intended use of the leased
                                premises and a description of the proposed business to be conducted
                                at the premises; (vi) a contact person for the proposed assignee;
                                and/or (vii) any other documentation that the Debtors may further
                                request (in consultation with the Consultation Parties). All Bidders
                                are deemed to consent to the transmission of Adequate Assurance
                                Information to the applicable Counterparties. All Bidders should
                                provide such other and further information reasonably requested by
                                the applicable Counterparty so as to enable such Counterparty to
                                evaluate such Bidder’s adequate assurance of future performance.

                           l)   CKE Consent to Assignment of Franchise Agreement(s). An
                                Acceptable Bidder is not obligated to, but may, require the
                                assumption and assignment of any franchise agreement(s) between
                                Debtors and CKE in order to submit a Qualified Bid. To the extent
                                an Acceptable Bidder requires the assignment of any franchise
                                agreement(s) between Debtors and CKE Restaurant Holdings, Inc.
                                (“CKE”) in its Bid, the Acceptable Bidder shall state whether or not
                                it has the consent of CKE to the assignment of the franchise
                                agreement(s) to the Acceptable Bidder, or its assignee. If consent
                                has not been obtained, but the Acceptable Bidder has commenced
                                the diligence process with CKE, the Acceptable Bidder shall state
                                its understanding of the status of the approval process.




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               iv.          Stalking Horse Bid and Initial Overbid. Each subsequent Bid or
                            combination of Bids must propose a purchase price greater than the sum
                            of (i) the value of the Stalking Horse Bid, as determined by the Debtors;
                            (ii) the Bid Protections and (iii) an initial overbid of not less than $250,000
                            (which $250,000 is subject to reduction depending on the lot(s) of assets
                            being sold) (the “Initial Overbid”).

               v.           Right to Credit Bid. Any Qualified Bidder who has an undisputed, valid
                            and perfected lien on any assets of the Debtors’ estate (a “Secured
                            Creditor”) shall have the right to credit bid all or a portion of the value of
                            such Secured Creditor’s claims within the meaning of section 363(k) of
                            the Bankruptcy Code; provided that a Secured Creditor shall have the right
                            to credit bid its claim only with respect to the collateral by which such
                            Secured Creditor is secured. The Stalking Horse Bidder shall be entitled
                            to credit bid the amount of its Bid Protections as part of any Bid it may
                            make at the Auction. The Confidentiality Agreement prohibits any
                            Qualified Bidder from purchasing the position of a Secured Creditor and
                            no such transferee shall be permitted to credit bid.

               vi.          Designation of Qualified Bidders. A Bid will be considered a “Qualified
                            Bid,” and each Acceptable Bidder that submits a Qualified Bid will be
                            considered a “Qualified Bidder,” if the Debtors (in consultation with the
                            Consultation Parties) determine that such Bid:

                           a)     satisfies the Bid Requirements set forth above, including any
                                  required Initial Overbid;

                           b)     is reasonably likely (based on availability of financing, antitrust, or
                                  other regulatory issues, experience, and other considerations) to be
                                  consummated, if selected as the Winning Bid (as defined below),
                                  within a time frame acceptable to the Debtors; and

                           c)     By July 12, 2023, the Debtors will notify each Acceptable Bidder
                                  whether such party is a Qualified Bidder and shall provide the
                                  Consultation Parties a copy of each Qualified Bid.

                           d)     If any Bid is determined by the Debtors (in consultation with the
                                  Consultation Parties) not to be a Qualified Bid, the Debtors will
                                  refund such Acceptable Bidder’s Deposit on the date that is three
                                  business days after the Bid Deadline.

                           e)     Between the date that the Debtors notify an Acceptable Bidder that
                                  it is a Qualified Bidder and the Auction, the Debtors may discuss,
                                  negotiate, or seek clarification of any Qualified Bid from a Qualified
                                  Bidder. Without the prior written consent of the Debtors, a


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                                 Qualified Bidder may not modify, amend, or withdraw its Qualified
                                 Bid, except for proposed amendments to increase their Purchase
                                 Price, or otherwise improve the terms of the Qualified Bid, during
                                 the period that such Qualified Bid remains binding as specified in
                                 these Bidding Procedures; provided that any Qualified Bid may be
                                 improved at the Auction as set forth herein. Any improved
                                 Qualified Bid must continue to comply with the requirements for
                                 Qualified Bids set forth in these Bidding Procedures.

                           f)    Notwithstanding anything herein to the contrary, the Debtors (in
                                 consultation with the Consultation Parties) reserve the right to work
                                 with (1) Potential Bidders and Acceptable Bidders to aggregate two
                                 or more Bids into a single consolidated Bid prior to the Bid Deadline
                                 or (2) Qualified Bidders to aggregate two or more Qualified Bid into
                                 a single Qualified Bid prior to the conclusion of the Auction. The
                                 Debtors (in consultation with the Consultation Parties) reserve the
                                 right to cooperate with any Acceptable Bidder to cure any
                                 deficiencies in a Bid that is not initially deemed to be a Qualified
                                 Bid. The Debtors may accept a single Qualified Bid or multiple
                                 Bids that, if taken together in the aggregate, would otherwise meet
                                 the standards for a single Qualified Bid (in which event those
                                 multiple bidders shall be treated as a single Qualified Bidder for
                                 purposes of the Auction).

                           g)    For the avoidance of doubt, the Stalking Horse Bidder (if approved)
                                 is a Qualified Bidder.

               vii.         Scheduling the Auction.

                           a)    The deadline for Qualified Bidders to submit a bid shall be July 10,
                                 2023 (the “Bid Deadline”). If the Debtors receive two or more
                                 Qualified Bids, the Debtors will conduct the Auction to determine
                                 the Winning Bidder with respect to the Transaction.

                           b)    No later than one day prior to the Auction, the Debtors, will notify
                                 all Qualified Bidders of the highest or otherwise best Qualified Bid,
                                 or combined Qualified Bids as determined in the Debtors’ business
                                 judgment (in consultation with the Consultation Parties) (the
                                 “Baseline Bid”), and provide copies of the documents supporting
                                 the Baseline Bid to all Qualified Bidders and the Consultation
                                 Parties. The determination of which Qualified Bid or combination
                                 of Qualified Bids constitutes the Baseline Bid and which Qualified
                                 Bid or combination of Qualified Bids constitutes the Winning Bid
                                 shall take into account any factors the Debtors (in consultation with
                                 the Consultation Parties) reasonably deem relevant to the value of



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                                  the Qualified Bid(s) to the Debtors’ estate, including, among other
                                  things: (a) the number, type, and nature of any changes to the
                                  applicable Form Documents requested by the Qualified Bidder; (b)
                                  the amount and nature of the total consideration; (c) the likelihood
                                  of the Qualified Bidder’s ability to close a transaction and the timing
                                  thereof; (d) the net economic effect of any changes to the value to
                                  be received by the Debtors’ estate from the Transaction
                                  contemplated by the Baseline Bid; (e) the tax consequences of such
                                  Qualified Bid; and (f) if seeking the assumption and assignment of
                                  any franchise agreements with CKE Restaurants Holdings Inc.,
                                  whether the consent of CKE Restaurants Holdings Inc. to such
                                  assignment has been obtained and if consent has not been obtained,
                                  whether the Qualified Bidder has requested consent and the status
                                  and timing of when consent is expected (collectively, the “Bid
                                  Assessment Criteria”).

                           c)     Unless otherwise indicated as provided by the Bidding Procedures
                                  Order, the Auction shall take place at 10:00 a.m. (prevailing
                                  Mountain Time) on July 14, 2023, at the offices of Markus
                                  Williams Young & Hunsicker, LLC, 1775 Sherman Street, Suite
                                  1950, Denver, Colorado 80203, or such later date and time or
                                  location as selected by the Debtors. The Auction shall be conducted
                                  in a timely fashion according to the following procedures:

               viii.        The Auction Process.

                i.         Conduct and Form of the Auction. The Debtors and their professionals
                           shall direct and preside over the Auction. At the start of the Auction, the
                           Debtors shall describe the terms of the Baseline Bid. All incremental Bids
                           made thereafter shall be Overbids (as defined herein) and shall be made
                           and received on an open basis, and all material terms of each Overbid shall
                           be fully disclosed to all other Qualified Bidders. At the Auction, the
                           Debtors intend to offer their assets for sale in four (4) distinctive lots: (i)
                           those properties and stores belonging to the Debtors and located in Georgia
                           and South Carolina; (ii) those properties and stores belonging to the
                           Debtors and located in Missouri and Kansas; (iii) those properties and
                           stores belonging to the Debtors and located in Montana and Wyoming; and
                           (iv) all properties and stores belonging to the Debtors wherever located.
                           The Debtors shall retain a court reporter to transcribe the statements made
                           at the Auction and shall maintain a written transcript of all Bids made and
                           announced at the Auction, including the Baseline Bid(s), all Overbids, and
                           the Winning Bid(s).

                ii.        Attendance at the Auction. Only Qualified Bidders, the Debtors, Cadence
                           Bank, CKE Restaurants Holdings Inc., the Committee, and each of their


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                           respective legal and financial advisors, and any other parties specifically
                           invited or permitted to attend by the Debtors, shall be entitled to attend the
                           Auction, and the Qualified Bidders shall appear in person at the Auction
                           and may speak or bid themselves or through duly authorized
                           representatives. Except as otherwise permitted by the Debtors, only
                           Qualified Bidders shall be entitled to bid at the Auction.

                iii.       Overbids. “Overbid” means any Bid made at the Auction by a Qualified
                           Bidder subsequent to the Debtors’ announcement of the Baseline Bid.
                           Each Overbid must comply with the following conditions:

                           a)     Minimum Overbid Increment. The first Overbid(s) following the
                                  Baseline Bid(s) (the “Initial Overbid”) shall be in an amount having
                                  a value equal to or in excess of $250,000 higher that the first
                                  Baseline Bid(s) (which $250,000 is subject to reduction depending
                                  on the lot(s) of assets being sold), unless otherwise determined by
                                  the Debtors in an exercise of their business judgment (after
                                  consultation with the Consultation Parties). Any Bid(s) made
                                  subsequent to the Initial Overbid must be made in an amount having
                                  a value in excess of at least $100,000 higher than the Prevailing
                                  Highest Bid(s) (as defined below) (which $100,000 may be subject
                                  to reduction depending on the lot(s) of assets being sold).

                           b)     Conclusion of Each Overbid Round. Upon the solicitation of each
                                  round of Overbids, the Debtors may announce a deadline (as the
                                  Debtors may, in their business judgment, extend from time to time,
                                  the “Overbid Round Deadline”) by which time any Overbids must
                                  be submitted to the Debtors.

                           c)     Overbid Alterations.        An Overbid may contain alterations,
                                  modifications, additions, or deletions of any terms of the Bid no less
                                  favorable in the aggregate to the Debtors’ estate than any prior
                                  Qualified Bid or Overbid, as determined in the Debtors’ business
                                  judgment (in consultation with the Consultation Parties), but shall
                                  otherwise comply with the terms of these Bidding Procedures. For
                                  the avoidance of doubt, a Qualified Bidder may modify its Bid at
                                  the Auction to include the acquisition of additional assets that were
                                  not included in its original Bid, provided that the modified Bid meets
                                  the minimum required Overbid increment.

                           d)     Announcing Highest Bid(s). Subsequent to each Overbid Round
                                  Deadline, and after consulting with the Consultation Parties, the
                                  Debtors shall announce whether the Debtors have identified an
                                  Overbid or overbids as being higher or otherwise better than the
                                  Baseline Bid, in the initial Overbid Round, or, in subsequent rounds,


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                                the Overbid(s) previously designated by the Debtors as the
                                prevailing highest or otherwise best Bid(s) (the “Prevailing Highest
                                Bid”). The Debtors shall describe to all Qualified Bidders the
                                material terms of any new Overbid(s) designated by the Debtors as
                                the Prevailing Highest Bid(s), as well as the value attributable by the
                                Debtors to such Prevailing Highest Bid(s) based on, among other
                                things, the Bid Assessment Criteria.

                           e)   Consideration of Overbids. The Debtors reserve the right, in
                                consultation with the Consultation Parties, in their business
                                judgment, to adjourn the Auction one or more times, to, among other
                                things, (1) facilitate discussions between the Debtors and Potential
                                Bidders, (2) allow Qualified Bidders to consider how they wish to
                                proceed, and (3) provide Qualified Bidders the opportunity to
                                provide the Debtors with such additional evidence as the Debtors, in
                                their business judgment, may require, that the Qualified Bidder(s)
                                has sufficient internal resources or has received sufficient
                                noncontingent debt and/or equity funding commitments to
                                consummate the proposed Transaction at the prevailing Overbid
                                amount.

                           f)   Closing the Auction. During or prior to the conclusion of the
                                Auction, the Debtors shall have the right, in the exercise of their
                                reasonable business judgment and after consulting the Consultation
                                Parties, to modify or amend the Auction process and procedures as
                                deemed necessary and appropriate by the Debtors. The Auction
                                shall continue until there is only one Qualified Bid that the Debtors
                                determine, in consultation with the Consultation Parties, in their
                                business judgment, to be the highest or otherwise best Qualified
                                Bid(s). Such Qualified Bid(s) shall be declared the “Winning
                                Bid(s)” and such Qualified Bidder(s), the “Winning Bidder(s),” at
                                which point the Auction will be closed. The Auction shall not close
                                unless and until all Qualified Bidders have been given a reasonable
                                opportunity to submit an Overbid at the Auction to the then
                                Prevailing Highest Bid(s). Such acceptance by the Debtors of the
                                Winning Bid(s) is conditioned upon approval by the Court of the
                                Winning Bid(s). For the avoidance of doubt, nothing in these
                                Bidding Procedures shall prevent the Debtors from exercising their
                                fiduciary duties under applicable law. As soon as reasonably
                                practicable after closing the Auction, the Debtors shall finalize
                                definitive documentation to implement the terms of the Winning
                                Bid(s).

                           g)   No Collusion; Good-Faith Bona Fide Offer. Each Qualified Bidder
                                participating at the Auction will be required to confirm on the record


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                                 at the Auction that (1) it has not engaged in any collusion with
                                 respect to the bidding and (2) its Qualified Bid is a good-faith bona
                                 fide offer and it intends to consummate the proposed Transaction if
                                 selected as the Winning Bidder.

               iv.          Backup Bidder.

                           a)    Notwithstanding anything in these Bidding Procedures to the
                                 contrary, if an Auction is conducted, the Qualified Bidder(s) with
                                 the next-highest or otherwise second-best Qualified Bid(s) at the
                                 Auction, as determined by the Debtors in the exercise of their
                                 business judgment, shall be required to serve as a backup bidder(s)
                                 (the “Backup Bidder(s)”) until the earlier of (i) thirty (30) days after
                                 entry of the Sale Order and (ii) the date of closing of the applicable
                                 Transaction (the “Outside Date”), and each Qualified Bidder shall
                                 agree and be deemed to agree to be the Backup Bidder if so
                                 designated by the Debtors.

                           b)    The identity of the Backup Bidder(s) and the amount and material
                                 terms of the Qualified Bid(s) of the Backup Bidder(s) shall be
                                 announced by the Debtors, at the conclusion of the Auction at the
                                 same time the Debtors announces the identity of the Winning
                                 Bidder(s). Each Backup Bidder(s) shall be required to keep its
                                 Qualified Bid (or if the Backup Bidder submits one or more
                                 Overbids at the Auction, its final Overbids) open and irrevocable
                                 until the Outside Date. Each Backup Bidder’s Deposit shall be held
                                 in escrow pending the occurrence of the Outside Date.

                           c)    If any Winning Bidder(s) does not obtain Bankruptcy Court
                                 approval or fails to consummate the approved Transaction
                                 contemplated by its Winning Bid(s) prior to the Outside Date, the
                                 Debtors may select the Backup Bidder(s) as the Winning Bidder(s),
                                 and such Backup Bidder(s) shall be deemed a Winning Bidder(s) for
                                 all purposes without any further order of the Bankruptcy Court. The
                                 Debtors will be authorized, but not required, to consummate the
                                 Transaction contemplated by the Bid(s) of such Backup Bidder(s)
                                 without further order of the Court or notice to any party. In such
                                 case, each defaulting Winning Bidder’s Deposit shall be forfeited to
                                 the Debtors’ estate, and the Debtors, on behalf of themselves and
                                 their estates, specifically reserve the right to seek all available
                                 remedies against the defaulting Winning Bidder(s), including, but
                                 not limited to, specific performance.

               v.           Notice Parties.



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                           a)         Information that must be provided to the “Notice Parties” under
                                      these Bidding Procedures must be provided to the following
                                      parties:

                                i.            The Debtors’ Advisors: (a) the financial advisor, Dan
                                              Dooley, c/o MorrisAnderson and Associates, Ltd., 55 West
                                              Monroe St., Suite 2350, Chicago, IL 60603
                                              (DDooley@morrisanderson.com);        (b)      Brookwood
                                              Associates, investment banker to the Debtors, 3575
                                              Piedmont Road, 15 Piedmont Center, Suite 820, Atlanta, GA
                                              30305,           Attn:         Amy               Forrestal
                                              (AF@brookwoodassociates.com); and (c) Markus Williams
                                              Young & Hunsicker, LLC, 1775 Sherman Street, Suite 1950,
                                              Denver, Colorado 80203, Attn: James T. Markus
                                              (jmarkus@markuswilliams.com), counsel to Debtors.

                                ii.           Office of the United States Trustee, Byron Rodgers Federal
                                              Building; 1961 Stout Street, #12-200, Denver, Colorado
                                              80294

                                iii.          Counsel to Cadence Bank as senior secured lender, Morris
                                              Manning & Martine, LLP, Attn: Frank W. DeBorde, 1600
                                              Atlanta Financial Center, 3343 Peachtree Road, NE, Atlanta,
                                              Georgia 30326 (fdeborde@mmmlaw.com);

                                iv.           Counsel to CKE Restaurants Holdings, Inc.; DLA PIPER:
                                              Attn Richard Chesley, 444 West Lake Street, Suite 900,
                                              Chicago, IL 60606 (Richard.chelsey@dlapiper.com); and

                                v.            counsel to any statutory committee appointed in these cases.

                           b)         In addition to being Notice Parties, the following persons: (i)
                                      Candence Bank; (ii) a representative the Committee; and (iii) CKE
                                      Restaurants Holdings, Inc. shall also be deemed “Consultation
                                      Parties.” If a Consultation Party becomes a Qualified Bidder, then
                                      the Consultation Party shall not be a Consultation Party for so long
                                      as such Consultation Party remains a Qualified Bidder.

                           c)         The Debtors’ Advisors will meet weekly with counsel for Cadence
                                      Bank to provide Postpetition Sale Process updates.

               vi.          “As Is, Where Is.”

                           a)         Consummation of any Transaction will be on an “as is, where is”
                                      basis, with all faults and without representations or warranties of any
                                      kind, nature, or description by the Debtors or their estates, except as


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                                  specifically accepted or agreed to by the Debtors. Except as
                                  specifically accepted or agreed to by the Debtors, all of the Debtors’
                                  right, title, and interest in and to the respective assets will be
                                  transferred to the Winning Bidder free and clear of all pledges, liens,
                                  security interests, encumbrances, claims, charges, options, and
                                  interests in accordance with sections 363(f) of the Bankruptcy Code,
                                  as applicable. The Debtors are also seeking a finding that the
                                  Winning Bidder or Winning Bidders shall not be deemed to be
                                  successors to the Debtors for successor liability purposes.

                           b)     By submitting a Bid, except as specifically accepted or agreed to by
                                  the Debtors, each Acceptable Bidder will be deemed to
                                  acknowledge and represent that it (A) has had an opportunity to
                                  conduct adequate due diligence regarding the Transaction prior to
                                  making its Bid, (B) has relied solely on its own independent review,
                                  investigation, and inspection of any document, including executory
                                  contracts and unexpired leases, in making its Bid, and (C) did not
                                  rely on or receive from any party any written or oral statements,
                                  representations, promises, warranties, or guaranties whatsoever,
                                  whether express, implied by operation of law, or otherwise, with
                                  respect to the Transaction or the completeness of any information
                                  provided in connection with the Transaction or the Auction.

               vii.         Reservation of Rights. The Debtors reserve the right to modify these
                            Bidding Procedures in their business judgment, in consultation with the
                            Consultation Parties, in any manner that is not inconsistent with prior
                            orders of the Court or applicable law and will best promote the goals of
                            these Bidding Procedures, or impose, at or prior to the Auction,
                            additional customary terms and conditions on a Transaction, including:
                            (i) extending the deadlines set forth in these Bidding Procedures; (ii)
                            adjourning the Auction at the Auction; (iii) adding procedural rules that
                            are reasonably necessary or advisable under the circumstances for
                            conducting the Auction; (iv) canceling the Auction; and (v) rejecting any
                            or all Bids or Qualified Bids. Nothing in these Bidding Procedures shall
                            abrogate the fiduciary duties of the Debtors.

               viii.        Consent to Jurisdiction. All Qualified Bidders at the Auction shall be
                            deemed to have consented to the jurisdiction of the Court and waived any
                            right to a jury trial in connection with any disputes relating to the
                            Auction, the construction, and enforcement of these Bidding Procedures.

               ix.          Sale Hearing. A hearing to consider approval of the Transaction and the
                            sale to the Winning Bidder(s) or Backup Bidder(s) (the “Sale Hearing”)
                            will commence on July [21], 2023 at 10:00 a.m. (prevailing Mountain
                            Time).


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                              Any party wishing to object to approval of the Transaction and the sale to
                              the Winning Bidder or Backup Bidder (a “Sale Objection”) or wishing to
                              object to the conduct of the Auction (an “Auction Objection”) shall, by no
                              later than July 18, 2023 at 4:00 p.m. (prevailing Mountain Time), file
                              and serve its Sale Objection or Auction Objection, as applicable, on the
                              Notice Parties.

                              Any party failing to timely file a Sale Objection or an Auction Objection,
                              as applicable, will be forever barred from objecting and will be deemed to
                              have consented to the Sale, including the transfer of the Debtors’ right, title
                              and interest in, to, and under the assets free and clear of any and all liens,
                              claims, interests, and encumbrances in accordance with the definitive
                              agreement for the Transaction.

                 x.           Return of Deposit.

                             a)     The Deposit of the Winning Bidder(s) shall be applied to the
                                    Purchase Price of such Transaction at closing. The Deposits for
                                    each Qualified Bidder shall be held in one or more escrow accounts
                                    on terms acceptable to the Debtors and shall be returned (other than
                                    with respect to the Winning Bidder(s) and the Backup Bidder(s)) on
                                    the date that is three (3) business days after the Auction.

                             b)     If any Winning Bidder fails to consummate a proposed Transaction
                                    because of a breach by such Winning Bidder, the Debtors will not
                                    have any obligation to return the Deposit deposited by such Winning
                                    Bidder, which may be retained by the Debtors as liquidated
                                    damages, in addition to any and all rights, remedies, or causes of
                                    action that may be available to the Debtors and their estates, and the
                                    Debtors shall be free to consummate the proposed Transaction with
                                    the applicable Backup Bidder(s) without the need for an additional
                                    hearing or order of the Court.

           19.        Importantly, the Bidding Procedures recognize the Debtors’ fiduciary obligations

 to maximize sale value, and, as such, do not impair the Debtors’ ability to consider all qualified

 bid proposals, and, as noted, preserve the Debtors’ right to modify the Bidding Procedures as

 necessary or appropriate to maximize value for the Debtors’ estates.

 B.        Form and Manner of Notice.




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           20.      The Auction shall take place at 10:00 a.m. (prevailing Mountain Time) on July

 14, 2023, at the offices of Markus Williams Young & Hunsicker, LLC, 1775 Sherman Street, Suite

 1950, Denver, Colorado 80203, or such other date and time as selected by the Debtors.

           21.      On or before the date that is twenty-one (21) calendar days prior to the Sale Hearing,

 in accordance with Bankruptcy Rule 2002(a) and (c), the Debtors (or their agent) shall serve the

 auction and sale notice (the “Auction and Sale Notice”), substantially in the form attached to the

 Bidding Procedures Order as Exhibit 2, by first-class mail, postage prepaid, upon the Notice

 Parties and upon all other known creditors of the Debtors.

           22.      The Auction and Sale Notice shall indicate that copies of the Motion and the

 Bidding Procedures can be obtained from the Debtors’ counsel. The Auction and Sale Notice will

 also indicate the deadline for objecting to the Transaction to the Winning Bidder and the date and

 time of the Sale Hearing.

           23.      The Debtors further submit that notice of this Motion and the related hearing to

 consider entry of the Bidding Procedures Order, together with service of the Auction and Sale

 Notice, constitutes good and adequate notice of the Auction and the proceedings with respect

 thereto in compliance with, and satisfaction of, the applicable requirements of Bankruptcy Rule

 2002. The Debtors propose that no other or further notice of the Auction shall be required.

 Accordingly, the Debtors request that the Court approve the form and manner of the notice.

 C.        Assumption and Assignment Procedures

           24.      In connection with any Transaction, the Debtors propose to assume and assign to

 the Winning Bidder(s) the contracts (“Contracts”) that the Winning Bidder(s) seeks to assume (the

 “Proposed Assumed Contracts”). The Assumption and Assignment Procedures will, among other

 things, notice the counterparties (each a “Counterparty” and collectively, the “Counterparties”) of




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 the potential assumption and assignment of their Contracts and the Debtors’ calculation of costs

 of curing defaults under the Contracts (the “Cure Costs”) with respect thereto. Specifically, the

 Assumption and Assignment Procedures provide that:

                i.         Assumption and Assignment Notice: No later than June 9, 2023, the
                           Debtors shall file with this Court and serve on the non-Debtors
                           Counterparty to the Proposed Assumed Contracts the Assumption and
                           Assignment Notice, which shall (i) identify the Contracts; (ii) list the
                           Debtors’ good faith calculation of Cure Costs with respect to each Contract;
                           (iii) expressly state that assumption or assignment of a Contract is not
                           guaranteed and is subject to the agreement of the Winning Bidder and Court
                           approval; and (iv) prominently display the deadline to file objections to the
                           assumption, assignment, or sale of the Proposed Assumed Contracts. In the
                           event that the Debtors identify Counterparties that were not served with the
                           Assumption and Assignment Notice, the Debtors may subsequently serve
                           such Counterparty with an Assumption and Assignment Notice, and the
                           following procedures will nevertheless apply to such Counterparty;
                           provided, however, that the deadline to file a Cure Objection or
                           Assignability Objection with respect to such additional Counterparty shall
                           be 4:00 p.m. (prevailing Mountain Time) on the date that is 14 days
                           following service of the Assumption and Assignment Notice.

                ii.        Cure Objections and/or Assignability Objections

                           a)     Deadline. Any Counterparty to a Contract that wishes to object to
                                  the potential assumption, assignment, and sale of the Proposed
                                  Assumed Contract on any grounds (other than Adequate Assurance
                                  Objections, as noted below), including the subject of which
                                  objection is either (i) the Debtors’ proposed Cure Costs to cure any
                                  outstanding monetary defaults then existing under such contract
                                  (each, a “Cure Objection”) and/or (ii) an objection to the
                                  assignability of the Contract, whether on grounds that such contract
                                  is not assignable, is not an executory contract or unexpired lease, or
                                  otherwise (each, an “Assignability Objection”), shall file with the
                                  Bankruptcy Court and serve on the Notice Parties its Cure Objection
                                  and/or Assignability Objection, which must state, with specificity,
                                  the legal and factual bases thereof, including any appropriate
                                  documentation in support thereof, by no later than June 30, 2023 at
                                  4:00 p.m. (prevailing Mountain Time).

                           b)     Resolution: The Debtors and a Counterparty that has filed a Cure
                                  Objection and/or Assignability Objection shall first confer in good
                                  faith to attempt to resolve the Cure Objection and/or Assignability


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                                 Objection without Court intervention. If the parties are unable to
                                 consensually resolve the Cure Objection and/or Assignability
                                 Objection prior to the commencement of the Sale Hearing, the
                                 amount to be paid or reserved with respect to such Cure Objection
                                 and the assignability of the Contract shall be determined by the
                                 Bankruptcy Court at the Sale Hearing provided that, a Cure
                                 Objection may, at the Debtors’ discretion, after consulting with the
                                 Consultation Parties, the Winning Bidder and the Counterparty, be
                                 adjourned (an “Adjourned Cure Objection”) to a subsequent
                                 hearing. An Adjourned Cure Objection may be resolved after the
                                 closing date of the applicable Transaction; provided that, the
                                 Debtors maintain a cash reserve equal to the cure amount the
                                 objecting Counterparty believes is required to cure the asserted
                                 monetary default under the applicable Contract. Upon resolution of
                                 an Adjourned Cure Objection and subject to the payment of the
                                 applicable cure amount, if any, the applicable Contract that was the
                                 subject of such Adjourned Cure Objection may be deemed assumed
                                 and assigned to the applicable Winning Bidder, as of the closing date
                                 of the applicable Transaction. All objections to the potential
                                 assumption and assignment of the Debtors’ right, title, and interest
                                 in, to, and under a Contract will be heard at the Sale Hearing, except
                                 with respect to an Adjourned Cure Objection as set forth herein.

                           c)    Failure to Timely Object: If a Counterparty fails to timely file with
                                 the Bankruptcy Court and serve on the Notice Parties a Cure
                                 Objection and/or Assignability Objection, the Counterparty shall be
                                 deemed to have consented to the assumption, assignment, and sale
                                 of the Contract (unless such Counterparty has timely filed an
                                 Adequate Assurance Objection (as defined below) with respect to
                                 the Contract, in which case the Counterparty may only object to the
                                 Winning Bidder’s adequate assurance) to the Winning Bidder and
                                 forever shall be barred from asserting any objection with regard to
                                 such assumption, assignment, and sale. The Cure Costs set forth in
                                 the Assumption and Assignment Notice shall be controlling and will
                                 be the only amount necessary to cure outstanding defaults under the
                                 Contract under Bankruptcy Code section 365(b), notwithstanding
                                 anything to the contrary in any Contract, or any other document, and
                                 the Counterparty to the Contract shall be deemed to have consented
                                 to the Cure Costs and forever shall be barred from asserting any
                                 other claims related to such Contract against the Debtors or any
                                 Winning Bidder(s) or their property.

               iii.        Adequate Assurance Objections.




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                             a)   Deadline: Any Counterparty to a Proposed Assumed Contract that
                                  wishes to object to the potential assumption, assignment, and sale of
                                  the Proposed Assumed Contract, the subject of which objection is to
                                  the proposed form of adequate assurance of future performance
                                  provided by a Winning Bidder(s) or Backup Bidder(s) (who is not
                                  the approved Stalking Horse Bidder) with respect to such contract
                                  (each, an “Adequate Assurance Objection”), shall file with the
                                  Bankruptcy Court and serve on the Notice Parties an Adequate
                                  Assurance Objection, which must state, with specificity, the legal
                                  and factual bases thereof, including any appropriate documentation
                                  in support thereof, by no later than July 20, 2023 at 4:00 p.m.
                                  (prevailing Mountain Time).

                             b)   Resolution of Objections: The Debtors and a Counterparty that has
                                  filed an Adequate Assurance Objection shall first confer in good
                                  faith to attempt to resolve the Adequate Assurance Objection
                                  without Court intervention. If the parties are unable to consensually
                                  resolve the Adequate Assurance Objection prior to the
                                  commencement of the Sale Hearing, such objection and all issues of
                                  adequate assurance of future performance of the applicable Winning
                                  Bidder shall be determined by the Bankruptcy Court at the Sale
                                  Hearing.

                             c)   Failure to Timely Object: If a Counterparty fails to timely file with
                                  the Bankruptcy Court and serve on the Notice Parties an Adequate
                                  Assurance Objection, the Counterparty shall be deemed to have
                                  consented to the assumption, assignment, and sale of the Proposed
                                  Assumed Contract (unless the Counterparty has filed a timely Cure
                                  Objection and/or Assignability Objection with respect to the
                                  Proposed Assumed Contract, the deadline and procedures for
                                  resolution and adjudication of which are set forth above) to the
                                  Winning Bidder and forever shall be barred from asserting any
                                  objection. The Winning Bidder shall be deemed to have provided
                                  adequate assurance of future performance with respect to the
                                  applicable Proposed Assumed Contract in accordance with
                                  Bankruptcy Code section 365(f)(2)(B), notwithstanding anything to
                                  the contrary in the Proposed Assumed Contract, or any other
                                  document.

 D.        Publication of Free and Clear Notice

         25. Within ten (10) days following the entry of the Bid Procedures Order, the Debtors
 shall cause to be published in the National edition of USA Today a notice (the “Free and Clear
 Notice”) in the form attached to the Bid Procedures Order as Exhibit 4.



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 E.        Timeline
           26.   Set forth below for convenience is a chart reflecting the various proposed deadlines

 and dates requested by the Debtors set forth herein and the Bidding Procedures Order:

  Bidding Procedures Hearing                  TBD, 2023 at 10:00 a.m. prevailing Mountain Time

  Deadline to File Cure Notice                June 9, 2023 prevailing Mountain Time
  Cure/Assignability Objection                June 30, 2023 at 4:00 p.m. prevailing Mountain Time
  Deadline
  Qualifying Bid Deadline                     July10, 2023 at 5:00 p.m. prevailing Mountain Time
  Auction                                     July 14, 2023 at 10:00 a.m. prevailing Mountain
                                              Time
  Sale Objection Deadline                     July 18, 2023 at 4:00 p.m. prevailing Mountain Time
  Adequate Assurance Objection                July 20, 2023 at 4:00 p.m. prevailing Mountain Time
  Deadline
  Sale Approval Hearing                       July [21], 2023 at _____ prevailing Mountain Time
                                              (or as soon thereafter or before as the Court’s schedule
                                              permits)
  Entry of Sale Order Deadline                July 28, 2023
  Sale Closing Deadline                       August 14, 2023


                                            Basis for Relief

 A.        The Relief Sought in the Bidding Procedures Order Is in the Best Interests of the
           Debtors’ Estate and Should Be Approved.

           27.      Adoption of the Bidding Procedures is a valid exercise of the Debtors’ business

 judgment.       Courts have consistently held that a Debtors’ business judgment is entitled to

 substantial deference with respect to the procedures to be used in selling an estate’s assets. See,

 e.g., In re Trilogy Dev. Co., LLC, No. 09-42219, 2010 Bankr. LEXIS 5636, at *3–4 (Bankr. W.D.

 Mo. 2010) (holding that section 363 of the Bankruptcy Code permits the Debtors to sell their assets

 if a sound business purpose exists); In re Channel One Commc’ns, Inc., 117 BR 493 (Bankr. E.D.

 Mo. 1990) (same); In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (“Under Section 363, the

 Debtors in possession can sell property of the estate . . . if he has an ‘articulated business


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 justification.’” (internal citations omitted)); see also In re Farmland Indus., Inc., 294 B.R 855, 881

 (Bankr. W.D. Mo. 2003) (holding that courts in this district are reluctant to interfere with corporate

 decisions unless “it is made clear that those decisions are, inter alia, clearly erroneous, made

 arbitrarily, are in breach of the officers’ and directors’ fiduciary duty to the corporation, are made

 on the basis of inadequate information or study, are made in bad faith, or are in violation of the

 Bankruptcy Code”); In re Integrated Res., Inc., 147 B.R. 650, 656–57 (S.D.N.Y. 1992) (noting

 that bidding procedures that have been negotiated by a trustee are to be reviewed according to the

 deferential “business judgment” standard, under which such procedures and arrangements are

 “presumptively valid”).

         28.      Maximization of proceeds received by the estate is one of the dominant goals of

 any proposed sale of estate property. In the hope of maximizing the value received by the estate,

 courts typically establish procedures that are intended to enhance competitive bidding by, among

 other things, setting forth the rules that will govern the auction process. See, e.g., In re Fin. News

 Network, Inc., 126 B.R. 152, 156 (Bankr. S.D.N.Y. 1991) (“court-imposed rules for the disposition

 of assets . . . [should] provide an adequate basis for comparison of offers, and [should] provide for

 a fair and efficient resolution of bankrupt estates”); In re Edwards, 228 B.R. 552, 561 (Bankr. E.D.

 Pa. 1998) (“The purpose of procedural bidding orders is to facilitate an open and fair public sale

 designed to maximize value for the estate.”); In re Food Barn Stores, Inc., 107 F.3d 558, 564–65

 (8th Cir. 1997) (in bankruptcy sales, “a primary objective of the Code [is] to enhance the value of

 the estate at hand”); In re Integrated Res., Inc., 147 B.R. at 659 (“[I]t is a well-established principle

 of bankruptcy law that the objective of the bankruptcy rules and the trustee’s duty with respect to

 such sales is to obtain the highest price or greatest overall benefit possible for the estate.” (internal

 citations omitted)).




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         29.      To that end, courts uniformly recognize that procedures intended to enhance

 competitive bidding are consistent with the goal of maximizing the value received by the estate

 and therefore are appropriate in the context of bankruptcy transactions. See, e.g., Integrated

 Resources, 147 B.R. at 659 (bidding procedures “are important tools to encourage bidding and to

 maximize the value of the Debtors’ assets”); In re Fin. News Network, Inc., 126 B.R. 152, 156

 (Bankr. S.D.N.Y. 1991) (“court-imposed rules for the disposition of assets . . . [should] provide an

 adequate basis for comparison of offers, and [should] provide for a fair and efficient resolution of

 bankrupt estates”).

         30.      The Debtors believe that the proposed Bidding Procedures represent the best

 avenue for identifying and promoting active bidding from interested and financially capable parties

 and will maximize the value the Debtors will receive from the Transaction for the benefit of the

 Debtors’ estates. The proposed Bidding Procedures will allow the Debtors to conduct the Auction

 in a controlled, fair, and open fashion that will encourage participation by financially capable

 bidders who can demonstrate the ability to close a Transaction. In particular, the Bidding

 Procedures contemplate an open auction process with minimum barriers to entry and provide

 potential bidding parties with sufficient time to perform due diligence and acquire the information

 necessary to submit a timely and well-informed bid.

         31.      The Debtors believe that the proposed Bidding Procedures provide an appropriate

 framework for expeditiously establishing that the Debtors are receiving the best and highest offer

 for a Transaction, will encourage competitive bidding, are appropriate under the relevant standards

 governing auction proceedings and bidding incentives in bankruptcy proceedings, and are

 consistent with the controlling legal standard. Accordingly, the Court should approve the Debtors’

 adoption of the Bidding Procedures as reasonable and appropriate and a valid exercise of the

 Debtors’ business judgment.


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 B.          The Form and Manner of the Notice Should Be Approved.

           32.      Pursuant to Bankruptcy Rule 2002(a), the Debtors are required to provide creditors

 with 21 days’ notice of the Auction. Pursuant to Bankruptcy Rule 2002(c), such notice must

 include the time and place of the Auction and the deadline for filing any objections to the relief

 requested herein.

           33.      The Debtors submit that notice of this Motion and the related hearing to consider

 entry of the Bidding Procedures Order constitutes good and adequate notice of the Auction and

 the proceedings with respect thereto in compliance with, and satisfaction of, the applicable

 requirements of Bankruptcy Rule 2002. Accordingly, no further notice is necessary and the

 Debtors request that this Court approve the form and manner of notice of the Auction.

 Nevertheless, the Debtors propose to file on the court docket and serve a notice of entry of the

 Bidding Procedures Order with a copy of the entered Bidding Procedures Order attached to such

 notice.

           34.      “A proceeding to assume, reject, or assign an executory contract or unexpired lease.

 . . is governed by Rule 9014.” Fed. R. Bankr. P. 6006(a). Bankruptcy Rule 9014 provides that

 “[i]n a contested matter not otherwise governed by these rules, relief shall be requested by motion,

 and reasonable notice and opportunity for hearing shall be afforded the party against whom relief

 is sought.” Fed. R. Bankr. P. 9014(a). The notice and hearing requirements for contested matters

 under Bankruptcy Rule 9014 are satisfied if appropriate notice and an opportunity for hearing are

 given in light of the particular circumstances. See 11 U.S.C. § 102(1)(A) (defining “after notice

 and a hearing” or a similar phrase to mean such notice and opportunity for hearing “as [are]

 appropriate in the particular circumstances.”).

           35.      The Debtors respectfully submit that the proposed Assumption and Assignment

 Procedures are appropriate and reasonably tailored to provide appropriate notice and opportunity


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 for hearing.     Accordingly, the Debtors submit that implementation of the Assumption and

 Assignment Procedures is appropriate in these Chapter 11 Cases and request that the Court approve

 them.

                                Waiver of Bankruptcy Rule 6004(a)

         36.      Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

 of property . . . is stayed until the expiration of 14 days after entry of the order unless the court

 orders otherwise.” Similarly, Bankruptcy Rule 6006(d) provides that an “order authorizing the

 trustee to assign an executory contract or unexpired lease . . . is stayed until the expiration of 14

 days after the entry of the order unless the court orders otherwise.” The Debtors request that the

 Bidding Procedures Order be effective immediately by providing that the fourteen (14) day stays

 under Bankruptcy Rules 6004(h) and 6006(d) are waived.

                                        Reservation of Rights

         37.      Nothing contained herein is intended or shall be construed as: (a) an admission as

 to the amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code

 or other applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

 right to dispute any claim, (c) a promise or requirement to pay any particular claim; (d) an

 implication or admission that any particular claim is of a type specified or defined in this Motion;

 (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

 to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability,

 or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

 estate; or (g) a waiver of any claims or causes of action which may exist against any entity under

 the Bankruptcy Code or any other applicable law. If the Court grants the relief sought herein, any

 payment made pursuant to the Court’s order is not intended and should not be construed as an




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 admission as to the validity of any particular claim or a waiver of the Debtors’ right to subsequently

 dispute such claim.

                                                Notice

         38.      The Debtors, by and through their undersigned attorney’s will provide notice of this

 motion to: (a) the financial advisor Dan Dooley, c/o MorrisAnderson and Associates, Ltd., 55 West

 Monroe St., Suite 2350, Chicago, IL 60603 (DDooley@morrisanderson.com); (b) Brookwood

 Associates, investment banker to the Debtors, 3575 Piedmont Road, 15 Piedmont Center, Suite

 820, Atlanta, GA 30305, Attn: Amy Forrestal (AF@brookwoodassociates.com); (c) Office of the

 United States Trustee, Byron Rodgers Federal Building; 1961 Stout Street, #12-200, Denver,

 Colorado 80294; (d) Counsel to Cadence Bank as senior secured lender, Morris Manning &

 Martine, LLP, Attn: Frank W. DeBorde, 1600 Atlanta Financial Center, 3343 Peachtree Road, NE,

 Atlanta, Georgia 30326 (fdeborde@mmmlaw.com); (e) DLA PIPER: Attn Richard Chesley,

 counsel for CKE Restaurants Holdings, Inc.; 444 West Lake Street, Suite 900, Chicago, IL 60606

 (Richard.chelsey@dlapiper.com); (f) all parties asserting liens against the Debtors’ assets; (g)

 counsel to any statutory committee appointed in these cases; and (h) any party that requests service

 pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

 requested, no other or further notice need be given.

                                          No Prior Request

         39.      No prior request for the relief sought in this Motion has been made to this or any

 other court.

        WHEREFORE, the Debtors respectfully request that the Court enter the Order granting the

 relief requested herein and such other relief as the Court deems appropriate under the

 circumstances.



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 Dated: May 11, 2023

                                           MARKUS WILLIAMS YOUNG &
                                           HUNSICKER LLC


                                                  /s/ John F. Young
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